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 5   Attorney for Defendant
     ROBERT ROBINSON
 6
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )      CR. NO. S-05-034-LKK
                                     )
13                  Plaintiff,       )      STIPULATION; ORDER
                                     )
14        v.                         )
                                     )      Date: July 1, 2008
15   ROBERT ROBINSON,                )      Time: 9:30 a.m.
                                     )      Hon. Lawrence K. Karlton
16                  Defendant.       )
                                     )
17   _______________________________ )
18
          Defendant, Robert Robinson, through Christopher Haydn-Myer,
19
     Attorney At Law, and the United States of America, through Assistant
20
     U.S. Attorney Anne Pings, agree as follows:
21
          It is agreed that the hearing for Defendant’s Motion to Reduce
22
     Sentence Pursuant to 18 U.S.C section 3582(c)(2)on the date of July 1,
23
     2008 be vacated and a new hearing date be set on July 8, 2008.
24
          Mr. Robinson pled guilty before the Court on December 16, 2005,
25
     was sentenced on May 2, 2006, and is currently incarcerated in federal
26
     prison.   The continuance is being requested for two reasons.          First,
27
     counsel needs more time to reply the government’s response.            Second,
28
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 1   counsel has a first appearance with a client charged with violating
 2   California Penal Code section 187(a).      The client was born in 1990,
 3   suffers from a history of depression, and was not the party responsible
 4   for the fatal blows that killed the victim.       The first appearance is
 5   scheduled for July 1, 2008 in the morning.       Counsel is attempting to
 6   meet with the client’s family at that time to ascertain the extent of
 7   the client’s mental history.
 8        For all of these reasons, the parties jointly request a new
 9   hearing date on July 8, 2008 at 9:30 a.m.
10
11   Dated: June 30, 2008
12                                          Respectfully submitted,
13                                          /s/ Christopher Haydn-Myer
                                            ________________________________
14                                          CHRISTOPHER HAYDN-MYER
                                            Attorney for Defendant
15                                          Robert Robinson
16
     DATED: June 30, 2008                   /S/ Christopher Haydn-Myer for
17                                          Anne Pings
                                            Assistant U.S. Attorney
18
19                                ORDER
20   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED that the hearing for Defendant’s
21   Motion to Reduce Sentence Pursuant to 18 U.S.C section 3582(c)(2)on the
22   date of July 1, 2008 be vacated and a new hearing date be set on July 8,
23   2008 at 9:30 a.m.
24   DATED: June 30, 2008
25
26
27
28                                          2
